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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IRON MAIDEN HOLDINGS LTD.,

       Plaintiff,
                                                           Case No.: 1:18-cv-522
v.
                                                           Judge Jorge L. Alonso
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,                   Magistrate Judge Maria Valdez

       Defendants.

                                     NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Thursday, February 1, 2018, Plaintiff, by its counsel,

 shall appear before the Honorable Judge Jorge L. Alonso in Courtroom Room 1219 at the U.S.

 District Court for the Northern District of Illinois, 219 South Dearborn Street, Chicago, Illinois,

 and present Plaintiff’s Ex Parte Motion for Entry of a Temporary Restraining Order, including a

 Temporary Injunction, a Temporary Transfer of the Defendant Domain Names, a Temporary

 Asset Restraint, Expedited Discovery, and Service of Process by Email and/or Electronic

 Publication, Motion for Leave to File Under Seal, and Motion to Exceed Page Limitation.

 DATED: January 24, 2018                              Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt, Esq. (Bar No. 6207971)
                                                      1033 South Blvd., Suite 200
                                                      Oak Park, Illinois 60302
                                                      Telephone: 708-203-4787
                                                      E-mail: keith@vogtip.com


                                                      ATTORNEY FOR PLAINTIFF
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on January 24, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt




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